Creame Tt 2D OWI AT SSW Crest 29 AOA Page iaf2i

PX 29
(Coense 1t ew ORAS DunenitGe29 FimiG@eis22 Rage2af2i

Message

    
  

From: Phil Rapoport ripple.com]

eres. ic
Sent: 10/17/2013 8:49:09 AM

on behalf of — Phil Rapoport

To: Chris Larsen [Chris Larsen ripple.com>]
Subject: Ripple Primer
Attachments: Ripple_Primer.pdf

 

ripple.com]

  

I stole a lot of the language from existing content, but I tried to synthesize it in a "research report" style that wall
street is accustomed to.

Ripple BD/Sales Material/White Papers/Ripple Primer/

Ripple Labs Inc.

Director of Markets and Trading
Desk:
Mobile:

www.tipple.com | www.ripplelabs.com

 
   
 
 

 

CONFIDENTIAL RPLI_SEC 0328413
Came 1 Zoe AT SN DunrentiGa2S PittGisee Rapesaif2il

 

 

Ripple: A Primer

CONFIDENTIAL RPLI_SEC 0328414
Came 1 2D owe AT SN DunrentiG 2S PittGisee Rapeadf2il

Contents

 

Ripple: Executive Summery

What IS RID DIG. cece cene ee cen nnn enone CCRC R EEE EE CUREEOR EEA DECOM ERED OR 2
Examples of Interniet Protocol: ccssccscnssscrmnccrmnawencssaweanrrnrarere 2
Who owns Internet Protocols? . o.oo. cece cere cene een e eens reer cree ene een e eens cena eens 2
What are the advantages of using ripple for financial transactions?...............5 2

Ripple: a Primer

Payrnent Technology is Decades behind Cornmunications. ...........0.ccecseseeeeeees 4
Ripple: Distributed Clearing and Settlement.............0.:.cccsecesecene sense cersennneeens 7

Ripple: How it Works

A Universal Transiator: the Worid’s First Distributed Exchange.........ccccscecsen 8
Digtal Money, Counterparty Risk, and Ripple GatewayS..........ccsecccssersecensees W
Width BasSBO OC UN GICIOS vocwsvwsesssencwasreunnerenmanunrearemnmesecuNENseNNNORENES 12
XRAP: Protecting the Network from ADUS@....... 0 cccccsseusnecusneusnseusneuaaeuenaseusnes 4
XRPrA BHAGE CUNGROY sscincccenionmunnaaremneremmnenromaseeaneees 5

About Ripple Labs Inc.

Partner WEN Ripple... ccccccne eee eee nee saree ensue asaya eee eas cusne eas suse sareunesaseuanen 18
FOP MGre WTOMGATON ses ccorsivensensercpcs Toh F Owe AVERT LRTIORE RARER 18

ripple 1

 

CONFIDENTIAL RPLI_SEC 0328415
Case 1 2D owe AT SN «= DunrentiG2S FittGisee Page balf2il

 

Ripple: Executive Summary

 

What is Ripple?

Ripple is an Internet protocol for making financial transactions. You can use Ripple to

senc money anywhere in the world, in any currency, instantly and for free.

What is an internet protocol?
An internet protocol is a set of rules followed by the computers on the Internet to help

them communicate with each other,

Exampies of Internet Protocols

The protocol HTTP (Hypertext Transfer Protocol) is a set of rules for building and
sharing websites. The invention of HTTP led to the World Wide Web.

The protocol SMTP (Simple Mail Trarisfer Protocol) is a set of rules for sending

messages on the internet. The invention of SMTP made it possible to send emails.

transactions on the internet. The invention of RTXP makes possibile to transfer

value across a distributed network. Like email for money!

 

Who owns Internet protocols?

No one owns a protocoi. It is invented to be a useful standard. Anyone can choose to
use a protocol in his software or business. Hipple is free and open source. Just like

email, no one owns i, and there is no central operator.

What are the advantages of using Ripple for financial transactions?

An open, shared internet protocol for financial transactions offers many acvaniages.

ripple

 

Pe

CONFIDENTIAL RPLI_SEC 0328416
Case 1 Zoe AT SN = DunrentiGe2S Pitts Rapeeaf2il

Payments are cheaper. Because Ripple is not owned by anyone, the cost of making
payrnenits decreases. Merchants that receive payments via Ripple can save billions of

dollars in fees.

Payments are faster. Because Ripple transactions are automatic, payments can be
fully settled within seconds. By making money available sooner, Ripple can accelerate

economic activity.

Gurrency exchange is easy. Ripple makes # possible to exchange currencies at no

extra charge. This makes international commerce easier and more profitable.

Finance is accessible. Because Ripple only requires an Internet connection, H can

orovide financial services to bHlions of people in under-banked areas of the world.

Finance is interconnected. By creating a shared protocol for money, Ripple makes
transactions between independent businesses easy. This reduces friction and

inefficiency in the financial system.

 

CONFIDENTIAL RPLI_SEC 0328417
Cre 1 2D owe ATS DunrentiGe2S Pitts Page 7/aif2il

 

 

Payments Technology is Decades benind Communications

in the early days of the Internet, peaple could only send messages within a limited,
closed network. If you were a CompuServe user prior to 1988, you could only send
email to other CompuServe users. lf you were a GEnie user, you could only send
messages to other GEnie users. Email had not been creaied yet; there was no
standard protocol to connect the messaging systems operated by each internet

service provider.

 

When SMTP (Simple Mail Transfer Protocol) was created, commonly known as email, it
allowec the many disparate message systems to align into a single, interconnected
system. The genius of SMTP was to connect independent systems — exactly what
the Internet was designed to do. The advantages of a federated email system were so
obvious and powerful that SMTP quickly became the standard for ernall. Today the

idea of amall without federation seerns absurd.

 

CONFIDENTIAL RPLI_SEC 0328418
Came 1 Zoe AT SN DunrentiGe2S Pitts Rapesaif2il

 

  

Mofly@GEnie.com

Today’s payment systems look a jot like email did in the 1980s ~ closed anc

disconmected.

if you are a Wells Fargo customer, you can only make easy, free transfers to other
Wells Farao custorners. if you have an American Express you can only buy things from

businesses that accept American Express.

in order to link the disconnected payment systems, we add even more clearing
nouses. How co you send money from the Wells Fargo network io the Chase or
Paypal network? You might use SWIFT (Le. send a wire transfer), which adds another

third party and another layer of fees to ihe transaction.

 

FY

CONFIDENTIAL RPLI_SEC 0328419
Cae 1 2D owe AT SN «= DunrenttGen2S FittGaisee Pape saif2il

Wells Farge

        

Transine a
Fasiett =

 

When most information transfer has become free, rere is sill tremendous friction
around value transfer. [it stil costs $145 fo send a wire transfer. Remittance fees
average around 7%. Credit cards charge ~2% on every transaction that occurs on the

internet, Amazon.com is spending billions a year in payment processing fees.

Forty years into the internet, a big gap has formed between communications and
finance. Communications have been fattened out by peer-to-peer, distributed
networks. Yet the centralized nature of clearing and settling transactions has kept
finance running on infrastructure that was mostly designed in the 1950s — 1970s,

before the internet.

Money, in the digital era, is really just another type of information. i is information
about credits and debits stored on digital ledgers. Why is there such a big disconnect

between how computers transmit money versus how they transmit other information?

OF

 

CONFIDENTIAL RPLI_SEC 0328420
Chee 1: 2 ov ATS CresitGk2D PROMI Rage 1Oaif21

Centralized Decentralized Distributed

 

Source: p2pfoundation.net

    

Sending monay is slow, expensive, and complicated because there are so many
independent networks and payment systems running on centralized and proprietary
software. Centralized networks are expensive ~ they require fees to pay for staff and

servers and to tur a profit.

Ripple: Distriouted Clearing and Settlement

Ripple is a universal protocol for money that allows independent payment systems to
communicate as easily as email systerns do. Just as SMTP created a shared
standard for email, Ripple creates a shared standard for payments. As with email,
no one owns Ripple, and there is no central operator. Ripple is open source software
that alows servers all over ihe world fo communicate peer-to-peer financial

transactions to one another.
if the Ripple protocol becomes the standard protocol for money, payments will

become as fast, cheap, and easy as email. There are no network fees, and payments

are instant.

ripple 7

 

CONFIDENTIAL RPLI_SEC 0328421
Came I 2D AT SN DunrentiG@e2D Fite Reape i af2i

 

 

 

ow it Works

 

} ple °

 

The Ripple network, al its core, is a shared, public database. Within ihe database is a
leciger that tracks accounts and balances. At any time, anyone can view the ledger

and see a record of all activity on the Ripple network.

 

 

    

Soetuse Rewlentiicmertoa fe 22
“Sapicehig taatetsiamirbaa age
PS TES ES kp a

 

    
 

 

 

 

 

 

 

 

CONFIDENTIAL RPLI_SEC 0328422
Cheake 1: 2 ow ATS CresitGk2D PROMI Regge taf

Computers on the network mutually agree on changes to the ledger through a process
called consensus. The network reaches consensus globally within seconds. This
consensus finding process is the engineering breakthrough that allows for fast, secure,

and decentralized transaction settlement on the Ripple network.

 

 

 

 

 

 

 

 

 

 

 

 

 

Distributed networks offer many efficiencies over centralized networks. Because the
network is “self clearing,” # eliminates the need for a centralized network operator (and
geis rid of the associated layer of fees}. Because there is no single point of failure,
distributed networks are more reliable. And because they are open source, they tend

to be more secure.

A Universal Translator: the World’s First Distributed Exchange
Ripple supports any currency. Bul goes farther than that: Ripple gives users
complete currency choice. You can hold balances in one currency and send payments

in another.

 

CONFIDENTIAL RPLI_SEC 0328423
Chee 1: 2 ov ATS CresitGk2D PROMI Reape 1aif2i1

You can hold your balances on Ripple in USD and pay a merchant In JPY, EUR,
diicoin, gold. or any other currency. The Ripple network “translates” currencies by

routing orders through market makers who compete to earn bid/ask spread.

in the diagram below, a user who holds USD balances sends payment to a merchant
who only accepts payment in JPY. A market maker facilitates the transaction, buying

USD and selling JPY,

 

Rinple’s distributed exchange allows users to trade without the need for a broker or 4
third party exchange. Anyone can post bids or offers into aggregated global order
books, and ine Ripple network finds ihe most efficient path to match trades. There is

no network fee, and there is no minimum size.
For decades, economists have debated the merits of creating a global currency.

Nobel Laureate Friedrich Hayek once hoped that technology would arise to make 4

multinie-currency mocel more efficient: “Electronic calculators, which in seconds

ripple 10

 

CONFIDENTIAL RPLI_SEC 0328424
Chee 1: 2 ow ATS Cesitek2D POIs Reape WMiaif2i

would give the equivaient of any orice in any currency at the current rate, would soon

be used everywhere,” he wrote.

Mipple’s distributed exchange is the “electronic calculator” that Hayek dreamed of, but
on a scale he probably never imagined. Rippie is the worid’s first universal translater

for money.

Now every currency has the smooth transactional qualities of a global currency. You
can hold balances in gold or bitcoin and easily send payments in dollars or Euros.

Ripple gives everyone complete currency choice.

Digital Money, Counterparty Risk, and Ripple Gateways

Traditional flat currencies ~ when in digital form ~ have counterparty risk associated
with thern. This may not seem obvious at first glance, but In order to get your flat $100
bil onto a digital network, you would traditionally hand if over to the network operator:
your bank or Paypal, for example. in return you get an IOU showing your account

balance.

At that point, you no longer hold flat money. You traded flat dollars for a digital USD
balance which is effectively just a promise io pay. His a promise from the bank that
you can redeem your money on demand. And as the last few years have
demonstrated, USD deposits at Citibank are not necessarily equivalent to USD
deposits ai Bank of Cyprus or Bank of Iceland. Hence digital fiat currencies have

counterparty risk.
This holds true within the Ripple network as well, USD balances traded within the

Ripple network are redeernable at a specific “gateway”. A gateway is where flal money

enters and exits the Ripple network.

ripple 1

 

CONFIDENTIAL RPLI_SEC 0328425
Crase 1: 2D ATS «Dunresniteek29 Pri Pape aif2il

 

in practice, gateways could look very similar to traditional banks; but a gateway can be
ary business that provides access to the Ripple network. Gateways can be banks,
money service businesses, marketplaces, or any financial institution. Businesses that
become gateways create advanced financial functionality for their customers and

generate new revenue streams.

Just as with any forrn of digital flat currency, it is critical that you trust a gateway’s

ability to redeem your balances on the Ripple network as well.

Math Based Currencies

A math based currency, also referred to as a cryptocurrency, is a digital asset with
verifiable mathematical properties, similar to now we can reliably verify gold as an atom
with 78 protons. Math based currencies exist as digital assets in their own right and
can be transferred directly between users (as flat cash could be} without relying on any

cervtralized network operator.

The supply of a math based currency is governed by the laws of mathematics. There
is no human intervention beyond the creation of the protocol rules. This is in contrast
to the many “virtual currencies” that can be issued without restriction by companies

and people (airline miles, reward points, Facebook credits, etc.)

ripple 12

 

CONFIDENTIAL RPLI_SEC 0328426
Cheae 1: 2 ov ATS Crest 2D PROMI Peagpe thaif2i1

Bitcoin was the first exampie of a math based currency. Bitcoin exists natively as a
digital asset. His not a balance that is redeernable somewhere, and does not have
risk to any counterparty like the “digital flat” currencies described above. You could
nand someone a thumb drive with bitcoin on ft, and in doing so, you are transferring
the asset itself, like handing over cash, as opposed to transferring an [OU or

someone's promise to pay. it does not require trust in any third party.

There is a math based currency called XRP {prounced “ripples”) that is native to the
Ripple network. Just like bitcoin on the Blockchain, XRP exists natively within the
Ripple network as a counterparty-free currency. Because XHP is an asset as opposed
to a redeemable balance, it does not require that users trust any specific financial!

institution to trade or exchange ft.

 

Users of the Ripple network are not required to use XRP as a medium of exchange or
as a store of value. The Rippie network is currency agnostic. Users can use their

favorite currency, whether that’s USD, BTC, XRP, or something entirely different.

ripple 13

 

CONFIDENTIAL RPLI_SEC 0328427
Cheake 1: 2 cow CresTitGk2D FRO Pepe 1/7 aif

XRP exists to full two primary network functions ~ neiwork security and fo act as a

currency bridge ~ which we will discuss below.

XRP: Protecting the Network from Abuse

Since the Rippie network is based around a shared ledaer of accounts, a malicious
attacker could create large amounts of “ledger spam” (.s. fake accourts) and
transaction spam f.e. fake transactions) in an attempt to overload the network. This
could cause the size of the ledger to become unmanageabie and interfere with the

network’s ability fo quickly settle legitimate transactions,

To protect the network from abusive creation of excess ledger entries, each Ripple
account is required to have a smail reserve of XRP to create ledger entries. This
reserve requirement is currently 50 XRP, which is roughly equivalent to $0.50 at time of
writing. This requiremerr is intenced to be a negligible arnount for normal users whle
preventing a potential attacker from amassing a large number of fraudulent accounts to

“spam” the network,

With each transaction that is processed, 0.00001 XRP is destroyed (roughly one one-
nundred-thousandth of a penny in USD terms). This is not a fee that is collected by
anyone ~ the XRP is destroyed and ceases to exist. This transaction fee is also
designed to be negligible for users. Bul when the network is uncer heavy ioad, such

as when ff is attacked, this fee rapidly rises.

The goal of this design is to quickly bankrupt attackers and keep the network
functioning smoothly. Attacking the Ripple network can get very expensive, very

quickly, but for regular users, the cost effectively remains “free”.

 

14

CONFIDENTIAL RPLI_SEC 0328428
Cheae 1: 2 cow ATS reste 29 PROMI Peagpe Baif21

XRP: A Bridge Currency

XRP can also be very useful as a bridge currency. if iwo counterparties cannot find a
shared currency/gateway combination, XRP can filin as a neutral currency with no
counterparty risk. For example, Alice prefers USD and Bob prefers EUR. If they
cannot find a suttable EUR/USD market maker to resolve their transaction, they may
find H acivanlageous to convert their preferred currency to and from XRP to be able to

transact with each other.

in the diagrarn below, we show how in some instances, converting to/from XRP could
result in jess transactional friction. XRP is not a required bridge currency, only a useful

OFS.

 
   

oes

Snag

 

Three factors make XRP an ideal bridge currency on the Ripple network:
» XRP has low friction. It can be sent directly to any account with no transfer fees
* XRP has no counter party risk. it is the only currency native to the Rippie
network and thus requires no trust relationship with any gateway or third party.
* XRP cannot be cebased — a finite amount exists. 100 billlon XRP was “minted”

with the creation of the protocol, and by definition, no more will ever be created.

There is no requirement that Ripple users hold or exchange XRP, aside from the

negligible reserve ammount. Hippie is currency agnostic. Merchanis do not need to

ripple 15

 

CONFIDENTIAL RPLI_SEC 0328429
 

CONFIDENTIAL

Came 1 2a AT SN = DunrentiGe2d Pitesti Pepe ieaif2i

accept XRP to use Hippie. Both buyers and sellers can continue to use their preferred

currencies.

ripple

6,
tS
oa 5
a dag s
ee
lo J
sah
ARP
» sig we
ae @
GE &
a tr
& @

asf”

<
ad
eee
a
Ce
0 oh?
ask
4 .
a oer
ay
Mf
a Oh,
Ce ¥
SB
om
%

1S

RPLI_SEC 0328430
Cre 1 2a AT SN «= DunrentiG2D Pitta Rape ZzDaif2i

 

About: Ripple Labs Inc.

 

 

Ripple Labs is the cregtor of Ripple. We developed the protocol and fs distributed
payment network, and we now work to support and promote its growth. Because

Ripple is free and open source, we receive no cash flows from the network.

Ripple Labs hopes to make money from ARP if the wortd finds the Ripple network

useful and broadly adopts the protocol.

100 bon XRP was created with the Ripple protocol. Rinple Labs plans to gift 55
pilion XRP to charfable organizations, users, and strategic partners in the ecosystem
over time. The company will retain a portion with the hope of creating a robust and

liquid marketplace in order to monetize its only asset sometime in the future.

if the Ripple network grows into a vibrant, distributed payment network, Ripple Labs
will have accomplished its goal, and the Ripple protocol will belong to the community

as a free and open source resource.

Partner With Ripple
The Ripple proiocol is in Hts infancy. This primer only scratches the surface of its
robust potential. At Ripple Labs, we are working on many exciting new applications,

and the utility of the Ripple network will only grow.

ripple 17

 

CONFIDENTIAL RPLI_SEC 0328431
Crass li bowl Re AT SW DiumenttG2S FibiGeis22 Page 2iaf2i

We believe that cistributed financial networks and math beseci currencies will
revolutionize the infrastructure of our financial system in the near future. We invite

anyone who shares our view to get in touch so that we can work together.

The Hippie ecosystern neecis gateways, market makers, developers, and merchants to

full Hs potential.

 

Contact Us
Patrick Griffin Phillip Rapoport

EVP Business Development Director of Markets and Trading

BBs ipp!c.com Beri !e.com

Ripple Labs Inc.

178 2nd Street, 4th Floor
San Francisco, CA 94705
Phone: 418,987,1836

Website: www.ripple.com

ripple 18

 

CONFIDENTIAL RPLI_SEC 0328432
